          Case 1:16-cv-07098-JPC Document 114 Filed 10/20/20 Page 1 of 1


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                             10/20/2020
---------------------------------------------------------------------- X
                                                                       :
JOSEPH SOHM and VISIONS OF AMERICA, LLC,                               :
                                                                       :
                                    Plaintiffs,                        :
                                                                       :   16-CV-7098 (JPC) (SDA)
                  -v-                                                  :
                                                                       :         NOTICE OF
SCHOLASTIC INC.,                                                       :       REASSIGNMENT
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        This case has been reassigned to the undersigned. All counsel must familiarize themselves

with the Court’s Individual Rules, which are available at https://www.nysd.uscourts.gov/hon-

john-p-cronan. The parties are hereby referred to the Honorable Stewart D. Aaron for settlement.

No later than fourteen days after the conclusion of settlement discussions before Judge Aaron, the

parties shall file a joint status letter reporting on the results of those discussions.

        SO ORDERED.

Dated: October 20, 2020                                    __________________________________
       New York, New York                                           JOHN P. CRONAN
                                                                  United States District Judge
